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                                   STATEMENT OF FACTS

        1.     Your affiant, Ryan Alexander, is a Special Agent with the Federal Bureau of
Investigation (“FBI”). I am assigned to a Joint Terrorism Task Force (“JTTF”) with the FBI
Pittsburgh Division in Pittsburgh, PA. Currently, I am a tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. I have served as a Special Agent since
2010. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

                        Incursion at the U.S. Capitol on January 6, 2021

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

        5.     At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                   Evidence Linking VUKICH to Assault on the U.S. Capitol

A. Complainants

       8.     An individual by the name of Mitchell Paul Vukich (“VUKICH”) was identified
from approximately 7 online tips as a possible participant in the civil unrest at the U.S. Capitol on
January 6, 2021. Special Agents of the FBI Pittsburgh Field office interviewed Complainant 1
who provided screenshots from the Twitter account of “Mitch Vuk” (username
“@mitchellvukich”), including those below:

   •   3:15 PM. 1/6/21. “I was one of the first 15 people in the #Capitol. Wild stuff. Be safe out
       there.”




   •   7:51 PM. 1/6/21. “A lot of people have opinions on an event they did not witness.
       #USCapitol”




       9.    In addition to the above screen shots, FBI employees have reviewed other postings
by VUKICH that appear to make reference to the events at the U.S. Capitol from the perspective
of someone who was a participant and eyewitness.
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B. Mitchellvukich66@gmail.com

       10.    According to records obtained through a search warrant which was served on
Google, on January 6, 2021, in and around the time of the incident, a mobile device associated
with mitchellvukich66@gmail.com was present at and in the interior of the U.S. Capitol on
January 6, 2021. 1     Through its investigation, FBI has determined that the account
mitchellvukich66@gmail.com is used by VUKICH. 2




1
  Google estimates device location using sources including GPS data and information about nearby Wi-Fi access
points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s) of the data. As a
result, Google assigns a “maps display radius” for each location data point. Thus, where Google estimates that its
location data is accurate to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data
point. Finally, Google reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated with
mitchellvukich66@gmail.com was detected at 7 different points within the U.S. Capitol and/or its curtilage from
approximately 2:11pm until 2:36pm EST. Google records show that the “maps display radius” was less than 100ft
for 4 of these points, and at least 1 such point encompasses an area that is entirely within the U.S. Capitol Building.
2
 According to records provided by Google, the phone number that Google associates with the account
mitchellvukich66@gmail.com does not appear to be the same cellular telephone number currently being used by
VUKICH.
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C. Video

        11.     FBI employees have conducted a review of surveillance camera footage obtained
from fixed-position security cameras located inside the U.S. Capitol Building. In the course of
this review, an individual consistent with the physical description of VUKICH can be seen walking
throughout multiple locations inside the Capitol. The following does not represent an exhaustive
analysis of all available surveillance footage, but rather a summary of VUKICH’s movement
through the U.S. Capitol building.
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                                          East Corridor
                                          Approximately 2:19pm
                                          Individual matching the
                                          description of VUKICH wearing
                                          goggles on his forehead (on right
                                          of screen).




                                          Gallery West
                                          Approximately 2:25pm
                                          Individual matching the
                                          description of VUKICH securing
                                          paperwork that he appears to
                                          have picked up from inside the
                                          U.S. Capitol.
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                                                                Gallery West
                                                                Approximately 2:30pm
                                                                Individual matching the
                                                                description of VUKICH wearing
                                                                goggles on his forehead.




D. Admissions

        12.     On April 26, 2021, Special Agents of the Las Vegas Division of the FBI conducted
an interview of VUKICH while he was traveling through the Las Vegas Airport. Among other
things, during the interview, VUKICH was shown multiple still photographs (below) taken from
U.S. Capitol Security Cameras during the events of January 6, 2021. VUKICH affirmed that he
was the individual depicted in the images in the photos (below), wearing goggles on his head and
a distinctive T-shirt. He admitted to being present in the U.S. Capitol during the events of January
6, 2021, and further admitted to taking paperwork, which he described as a congressional session
agenda, and removing it from the Capitol premises. In the interview, VUKICH also affirmed that
the Twitter posts related to his presence and entry into the U.S. Capitol on January 6, 2021,
provided by complainants (see section A above) were in fact from his Twitter account and posted
by him.
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       13.     Based on the aforementioned evidence, there is probable cause to believe that
VUKICH was present inside the U.S. Capitol on January 6, 2021, during the riot and related
offenses that occurred at the U.S. Capitol Building, located at 1 First Street, NW, Washington,
D.C., 20510 at latitude 38.88997 and longitude -77.00906 on January 6, 2021 and participated in
the obstruction of the Congressional proceedings.

        14.     Accordingly, your affiant submits that there is probable cause to believe that
VUKICH violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

       15.    Your affiant submits there is also probable cause to believe that VUKICH violated
18 U.S.C. § 641, which makes it a crime to steal property of the United States, namely
congressional documents, valued at $1,000 or less.

        16.    Your affiant submits there is also probable cause to believe that VUKICH violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
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that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                          __________________________________________
                                                          RYAN ALEXANDER
                                                          Special Agent
                                                          Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 21st day of June, 2021.
                      Digitally signed by G. Michael
                      Harvey

___________________________________
                      Date: 2021.06.21 10:40:29 -04'00'

G. MICHAEL HARVEY
U.S. MAGISTRATE JUDGE
